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 6 United States of America

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            1:12-cr-0282 AWI
12                                  Plaintiff,
                                                          STIPULATION REGARDING
13                  v.                                    ADVANCEMENT; ORDER
14   RAFAEL GARCIA-DENIZ,
15                                  Defendant.
16

17                                 STIPULATION RE: ADVANCEMENT
18            Plaintiff United States of America, by and through its counsel of record, and defendant, by
19 and through his counsel of record, hereby stipulate as follows:
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              1.     By previous order, this matter was set for sentencing on May 20, 2013, before this
21
     Court.
22
              2.     By this stipulation, the parties now move to advance this matter for the above-
23

24 captioned defendant’s sentencing this Monday, April 29, 2013, at 10 a.m.

25
              IT IS SO STIPULATED.
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27 DATED:            April 24, 2013.         Respectfully submitted,
28                                           BENJAMIN B. WAGNER
                                                     1
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                            Case 1:12-cr-00282-AWI-BAM Document 34 Filed 04/25/13 Page 2 of 2


                                                    United States Attorney
 1

 2                                                  /s/ Karen A. Escobar___________________
                                                    KAREN A. ESCOBAR
 3                                                  Assistant United States Attorney
     DATED:                       April 24. 2013.
 4
                                                    /s/ Steven Crawford _____________
 5                                                  STEVEN CRAWFORD
                                                    Counsel for Defendant Rafael Garcia-Deniz
 6

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 8
                                                           ORDER
 9

10 IT IS SO ORDERED.

11 Dated: April 24, 2013

12   DEAC_Sig nature-END:
                                                         SENIOR DISTRICT JUDGE

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